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                         EXHIBIT 12
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                                                  #:188
Message
From:         Lawyer 1
Sent:         2/12/2016 11:27:37 PM
To:           Roger Ver [roger@memorydealers.com]
CC:           Return Preparer 1
Subject:      Re: BTC clarifiations




Dear Roger,

Thank you ver    much for the information. I think this gives us enough to estimate your BTC gains for
                  Prepret 1 t
these years.                  nd I will confer on Monday to see if anything else is needed.

Best,

Lawyer
    1 Firm 1
on 2016/02/12 15:20, Roger Ver wrote:
» Can you estimate the number of BTCs in the wallet, either
» (1) When MemoryDealers Japan first traded BTCs using that wallet or
» (2) when you first gave your wife access to the wallet?
> I would guess Q4 of 2011, around 25,000 BTC at that time.

» Could you give us an estimate of how many BTC you spent each month?
> The rate of BTC was not fixed.
> Even today, no one prices their goods in BTC. Everything is priced in USD, and then people pay the
equivalent amount of bitcoin.
> In 2011, no one accepted bitcoin for anything. ($0 worth spent personally per month)
> In 2012 there were almost no places to spend Bitcoin. ($0 worth spent personally per month)
> In 2013 some places started accepting Bitcoin, (so maybe on the high end $500 to $1000 worth spent
per month by me personally)
> In 2014 many more places started accepting Bitcoin (Maybe I spent $1,000 to $2,000 per month)
> In 2015 most online places accept Bitcoin, but I don' t think this counts for the IRS any more.
>>
» we will assume the basis in the BTCs was the average price of BTCs in the previous year.

» This lets us report a reasonable approximation of BTC gains.
> OK


   On Feb 12, 2016, at 3:42 PM, Lawyer 1                                  wrote:


   Dear Roger,

   Some followup questions below.

   Lawyer 1


  Law Firm 1
» on 2016 02 12 11:13, Roger ver wrote:
>» Hi
›.»
•   I' m sorry my answers below aren' t more helpful.
>»
>>» On Feb 12, 2016, at 2:14 PM, Lawyer 1                                   wrote:
>>»
>>>>
>>» Dear Roger,
>>»



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                                                        1                                                025487
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»» I would like to make sure that we have a complete picture your BTC situation.
»»
»» Clarifying our understanding
»» 1. After you transferred the BTC wallet used for MemoryDealers Japan's BTC trades, all BTC trades
     '    ved you were done through an entity of some kind (e.g. MemoryDealers USA, MemoryDealers Japan,
          , etc).
>>»
>» For while I was still a us citizen, yes.
>»
>>» 2. You had a personal BTC wallet from which you paid some of your expenses.
>>»
>>» Information requested
>>» 1. For the BTC wallet used for MemoryDealer Japan's BTC trades, could you tell us
>>» (1) the first date BTC trades from that wallet were deposited to MemoryDealer Japan's account
>>» (2) the number of BTCs in the wallet at that time?
>» Sorry, I don' t have records for this.
» It's necessary for us to report something here, because at one point, the BTC wallet was under your
sole control. Then at another point, the BTC wallet belonged to MemoryDealers Japan.
»
» Can you estimate the number of BTCs in the wallet, either
» (1) when MemoryDealers Japan first traded BTCs using that wallet or
» (2) When you first gave your wife access to the wallet?
>>»
»» We will treat that date as the date you gave the BTC wallet to your wife. This will be reported as
a gift.
>>»
»» 2. For the personal BTC wallet you used to pay for personal expenses, are you able to find records
of in and out for the wallet?
>» All of this was years before the IRS ruling and I don' t have records for this either.
» Could you give us an estimate of how many BTC you spent each month?
»
» We will assume the basis in the BTCs was the average price of BTCs in the previous year.
»
» This lets us report a reasonable approximation of BTC gains.
>»
>>»
»» I ask this because when you use BTC to pay for something, the IRS treats it as a sale of BTC, which
can give rise to gains or losses, even though you aren't trading with the wallet in the traditional
sense.

     Best regards,




     li :ea
         a verw1   Firm 1

>>
 >
 >
>>




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